                 Case 23-12138-djb                  Doc 80             Filed 04/02/25 Entered 04/02/25 10:57:53                          Desc Main
                                                                       Document      Page 1 of 5
 Fill in this information to identify your case and this filing:

 Debtor 1                   Amin S Rasheed
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number            23-12138                                                                                                                Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           No. Go to Part 2.
           Yes. Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

                                                                                                                  Do not deduct secured claims or exemptions. Put
     3.1     Make:      Dodge                                  Who has an interest in the property? Check one     the amount of any secured claims on Schedule D:
             Model:     Charger                                      Debtor 1 only                                Creditors Who Have Claims Secured by Property.
             Year:      2016                                         Debtor 2 only                                Current value of the      Current value of the
             Approximate mileage:              92897                 Debtor 1 and Debtor 2 only                   entire property?          portion you own?
             Other information:                                      At least one of the debtors and another
            Debtor's Mother maintains the
            vehicle (maintenance and                                 Check if this is community property                 $14,680.00                  $14,680.00
            monthly payments)                                         (see instructions)



                                                                                                                  Do not deduct secured claims or exemptions. Put
     3.2     Make:      Jeep                                   Who has an interest in the property? Check one     the amount of any secured claims on Schedule D:
             Model:     Grand Cherokee                               Debtor 1 only                                Creditors Who Have Claims Secured by Property.
             Year:      2021                                         Debtor 2 only                                Current value of the      Current value of the
             Approximate mileage:              39380                 Debtor 1 and Debtor 2 only                   entire property?          portion you own?
             Other information:                                      At least one of the debtors and another


                                                                     Check if this is community property                 $28,220.00                  $28,220.00
                                                                      (see instructions)




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                                                                                                                             Do not deduct secured claims or exemptions. Put
     3.3     Make:      Jeep                                   Who has an interest in the property? Check one                the amount of any secured claims on Schedule D:
             Model:     Grand Cherokee                               Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
             Year:      2017                                         Debtor 2 only                                           Current value of the      Current value of the
             Approximate mileage:              86623                 Debtor 1 and Debtor 2 only                              entire property?          portion you own?
             Other information:                                      At least one of the debtors and another
             Debtor's ex maintains and
             makes monthly payments on                               Check if this is community property                             $18,720.00                 $18,720.00
             this vehcile                                             (see instructions)




4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

           No
           Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                $61,620.00

 Part 3: Describe Your Personal and          Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                  Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe.....

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
        No
        Yes. Describe.....
                                    Desktop computer                                                                                                                 $750.00


8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                musical instruments
        No
        Yes. Describe.....

10.        Firearms
           Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe.....

11.        Clothes
           Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe.....
                                    Used Everyday Wearing Apparel                                                                                                    $500.00


12.        Jewelry
           Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
            No
            Yes. Describe.....


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13.   Non-farm animals
      Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....

14.   Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $1,250.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

16.   Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
       Yes................................................................................................................

17.   Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
       No
       Yes........................                                     Institution name:


                                      17.1.    Checking (8797)            Pathward                                                                   $47.00


                                               Other financial
                                      17.2.    account                    Cashapp                                                                      $0.00


18.   Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................        Institution or issuer name:

19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
       No
       Yes. Give specific information about them...................
                                 Name of entity:                                          % of ownership:

20.   Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                         Issuer name:

21.   Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                Type of account:                Institution name:

22.   Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                               Institution name or individual:

23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............   Issuer name and description.
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28.   Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29.   Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30.   Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay,       workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31.   Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                    Company name:                                           Beneficiary:                               Surrender or refund
                                                                                                                                       value:
                                         AAA                                                   Term Life $750,000.00
                                                                                               (No Cash Value)                                            $0.00


32.    Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
        No
        Yes. Give specific information..


33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........
                                                     Claim against Nationwide Insurance for personal injury.                                              $0.00

                                                     Claim against Progressive Insurance for personal injury.                                       $8,666.67


34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

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35.    Any financial assets you did not already list
        No
        Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                   $8,713.67

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.   Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes.    Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46.    Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53.   Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                        ....................................                    $0.00

 Part 8:        List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                           $0.00
 56. Part 2: Total vehicles, line 5                                                                         $61,620.00
 57. Part 3: Total personal and household items, line 15                                                     $1,250.00
 58. Part 4: Total financial assets, line 36                                                                 $8,713.67
 59. Part 5: Total business-related property, line 45                                                            $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
 61. Part 7: Total other property not listed, line 54                                           +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $71,583.67              Copy personal property total                 $71,583.67

 63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                                                              $71,583.67




Official Form 106A/B                                                              Schedule A/B: Property                                                                                 page 5
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